           Case 2:17-cr-00208-TOR           ECF No. 134        filed 04/04/18       PageID.354 Page 1 of 1
O PS 8
(3/15)


                               UNITED STATES DISTRICT COURT
                                                                                                      FILED IN THE
                                                                                                  U.S. DISTRICT COURT
                                                             for                            EASTERN DISTRICT OF WASHINGTON


                                            Eastern District of Washington                     Apr 04, 2018
                                                                                                 SEAN F. MCAVOY, CLERK


U.S.A. vs.                   Stone, Marshal Julius                       Docket No.             2:17CR00208-TOR-1

                                 Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Marshal Julius Stone, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 9th day of November 2017, under the following conditions:

Special Condition # 27: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program,
random urinalysis testing shall be conducted through Pretrial Services, and shall not exceed six (6) times per month.
Defendant shall submit to any method of testing required by the Pretrial Services Office for determining whether the
Defendant is using a prohibited substance. Such methods may be used with random frequency and include urine testing,
the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing.
Defendant shall refrain from obstructing or attempting to obstruct or tamper in any fashion, with the efficiency and accuracy
of prohibited substance testing.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #6: The defendant failed to submit to drug testing on March 16, 2018.

         PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATIONS
                              PREVIOUSLY REPORTED TO THE COURT
                                                                           I declare under the penalty of perjury
                                                                           that the foregoing is true and correct.
                                                                           Executed on:        04/03/2018
                                                                   by      s/Erik Carlson
                                                                           Erik Carlson
                                                                           U.S. Pretrial Services Officer


THE COURT ORDERS
[ ]  No Action
[X ] The incorporation of the violation(s) contained in this
      petition with the other violations pending before the
      Court.
[X]  Defendant to appear before the Judge assigned to the case.
[ ]  Defendant to appear before the Magistrate Judge.
[X ] Other - This violation will be addressed at the Revocation of
            Pretrial Release hearing scheduled for 4/19/2018.
                                                                             Signature of Judicial Officer

                                                                               April 4, 2018
                                                                             Date
